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             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT


 BRAIDWOOD MANAGEMENT, INCORPORATED; JOHN
   SCOTT KELLEY; KELLEY ORTHODONTICS; ASHLEY
   MAXWELL; ZACH MAXWELL; JOEL STARNES,

            Plaintiff-Appellees/Cross-Appellants,

                          v.

 XAVIER BECERRA, SECRETARY, U.S. DEPARTMENT OF
   HEALTH AND HUMAN SERVICES, in his official
                                                              No. 23-10326
   capacity as Secretary of Health and Human
   Services; UNITED STATES OF AMERICA; JANET
   YELLEN, SECRETARY, U.S. DEPARTMENT OF
   TREASURY, in her official capacity as Secretary of
   the Treasury; JULIE A. SU, ACTING SECRETARY,
   U.S. DEPARTMENT OF LABOR, in her official
   capacity as Secretary of Labor,

            Defendants-Appellants/Cross-
              Appellees.


          JOINT STIPULATION AND PROPOSED ORDER

     Pursuant to this Court’s order of June 7, 2023, the parties have

reached the following agreement:

     1. The district court’s final judgment of March 30, 2023, vacated

agency actions taken to implement or enforce the preventive-services

coverage requirements in 42 U.S.C. § 300gg-13(a)(1) in response to an “A”

or “B” recommendation by the Task Force on or after March 23, 2010, and
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enjoined the defendants from implementing or enforcing those

requirements against anyone in response to an “A” or “B” recommendation

in the future. The district court concluded that universal vacatur was

required under 5 U.S.C. § 706(2).

      2. The plaintiffs have concluded that the district court’s judgment

and universal remedy are incapable of immunizing the plaintiffs or anyone

else from statutory penalties or enforcement action if the district court’s

judgment is later vacated or reversed on appeal, even for violations of 42

U.S.C. § 300gg-13(a)(1) that occur while the district court’s judgment

remains in effect. See Edgar v. MITE Corp., 457 U.S. 624, 651 (1982)

(Stevens, J., concurring in part and concurring in the judgment) (“[A] final

judgment declaring a state statute unconstitutional would not grant

immunity for actions taken in reliance on the court’s decision); Okpalobi v.

Foster, 244 F.3d 405, 426, n.34 (5th Cir. 2001) (en banc) (“An injunction

enjoins a defendant, not a statute.”).

      3. Because the plaintiffs and private insurers cannot be certain that

the district court’s judgment will be affirmed on appeal, and because the

plaintiffs have concluded that they could face future statutory penalties if

they violate 42 U.S.C. § 300gg-13(a)(1) while the district court’s judgment is

in effect if the judgment is later vacated or reversed, plaintiff Braidwood


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Management Inc. is unwilling to change its self-insured plan to exclude or

limit coverage of preventive care recommended by the Task Force until the

appeals process becomes final, or unless the defendants commit not to seek

statutory penalties or pursue enforcement action arising out of Braidwood’s

violations of 42 U.S.C. § 300gg-13(a)(1) while the district court’s judgment

remains in effect. See Declaration of Steven F. Hotze, M.D., ECF No. 127,

Ex. 1, at ¶¶ 7–11.

      4. Pursuant to this stipulation, the defendants agree not to seek

penalties or take any enforcement action—now or at any time in the

future—arising out of any refusal by Braidwood Management Inc. to cover

preventive care recommended by the U.S. Preventive Services Task Force

on or after March 23, 2010, in its self-insured group health plan, or any

imposition by Braidwood of cost-sharing arrangements for such preventive

care, if such refusal or imposition occurs between now and the issuance of

the mandate in this appeal. This stipulation does not shield Braidwood or

anyone else from enforcement action or penalties arising out of violations

of 42 U.S.C. § 300gg-13(a)(1) that occur after this Court issues its mandate,

if this Court vacates or reverses the judgment that protects Braidwood from

the relevant enforcement action or penalties.




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      5. The defendants also agree not to seek penalties or take any

enforcement action—now or at any time in the future—arising out of a

Texas-based insurance issuer’s offer of a plan that excludes coverage of

preexposure prophylaxis drugs to John Kelley, Joel Starnes, Zach Maxwell,

Ashley Maxwell, and/or Kelley Orthodontics (collectively, the “individual

plaintiffs”), if that offer is made between now and the issuance of the

mandate in this appeal. The defendants further agree not to seek penalties

or take any enforcement action—now or at any time in the future—against

the individual plaintiffs for purchasing or maintaining such a plan between

now and the issuance of the mandate in this appeal. This stipulation does

not shield the individual plaintiffs or anyone else from enforcement action

or penalties arising out of violations of 42 U.S.C. § 300gg-13(a)(1) that

occur after this Court issues its mandate, if this Court: (1) vacates or

reverses the judgment or remedy entered with respect to plaintiffs’

successful Appointments Clause claim; and (2) vacates or reverses the

judgment in the individual plaintiffs’ favor on their claim under the

Religious Freedom Restoration Act.

      6. In exchange for the defendants’ commitments in paragraphs (4)

and (5) above, the plaintiffs withdraw their opposition to the defendants’

motion for a partial stay of the final judgment pending appeal (Doc. 30)


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and agree that this Court should, as requested in that motion, stay the first

paragraph of item 3 in the judgment, ROA.2131-2132, pending the issuance

of the mandate in this appeal.

      7. In agreeing to this partial stay of the final judgment pending

appeal, the plaintiffs are not conceding or acknowledging that the

defendants are likely to succeed on the merits of their appeal, nor is this a

recognition or agreement that the defendants might be entitled to a partial

stay pending appeal under the four-part test described in Hilton v.

Braunskill, 481 U.S. 770, 776 (1987). Likewise, the defendants are not

making any concessions with respect to the merits or the relief available in

this case.

      8. The provisions of this agreement are non-severable and take effect

only if this Court enters the partial stay of the final judgment pending the

issuance of the mandate in this appeal.

      9. A proposed order is attached.




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                                        Respectfully submitted,

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JUNE 2023




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                      CERTIFICATE OF SERVICE

     I hereby certify that on June 12, 2013, I electronically filed the

foregoing with the Clerk of the Court by using the appellate CM/ECF

system. Participants in the case are registered CM/ECF users and service

will be accomplished by the appellate CM/ECF system.

                                           /s/ Jonathan F. Mitchell
                                          JONATHAN F. MITCHELL
